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                    EXHIBIT 34
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                                    #:2757
                                Monday, September 23, 2019 at 2:22:19 PM Central Daylight Time

Subject:    Novoa, et al. v The GEO Group, Inc. - Plain9ﬀs' Second Set of Requests for Admission and
            Request for Inspec9on
Date:       Friday, August 23, 2019 at 12:52:52 PM Central Daylight Time
From:       Hannah Lopez
To:         ashley.calhoun@akerman.com, colin.barnacle@akerman.com, christopher.eby@akerman.com
CC:         Novoa - External
ADachments: 2019.08.23 Novoa - PlYs Second RFAs and RFI[2].pdf

Counsel,

Attached for service please find Plaintiffs’ Second Set of Requests for Admission
and Request for Inspection to Defendant The GEO Group, Inc.

Thank you,
Hannah C. Lopez
Paralegal
Burns Charest LLP
365 Canal Street, Suite 1170
New Orleans, LA 70130
504.799.2845 main
504.881.1765 fax




                                                                                                Page 1 of 1
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 1                                  UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
 2                                       EASTERN DIVISION
 3   RAUL NOVOA, et al., individually and on
     behalf of all others similarly situated,            Civil Action No. 5:17-cv-02514-JGB-SHKx
 4

 5                            Plaintiffs,

 6   v.                                                  PLAINTIFFS’ SECOND SET OF
                                                         REQUESTS FOR ADMISSION AND
 7   THE GEO GROUP, INC.,                                REQUEST FOR INSPECTION TO
                                                         DEFENDANT THE GEO GROUP,
 8                            Defendant.                 INC.
 9
10
11             To:    Defendant The GEO Group, Inc.

12             Plaintiffs Raul Novoa and Jaime Campos Fuentes, on behalf of themselves and all others
13   similarly situated, by and through undersigned counsel, hereby serve the following Requests for
14
     Admission and Request for Inspection under oath pursuant to Federal Rules of Civil Procedure 26, 34
15
     and 36.
16
               Please respond within 30 days from the date of this request, and continuing from day to day
17
     thereafter, until completed, at 365 Canal Street, Suite 1170, New Orleans, Louisiana 70130, or at
18
19   such time and place as may be agreed upon by all counsel.

20                                            INSTRUCTIONS

21             1.     Plaintiffs incorporate by reference the applicable Instructions and Definitions from
22   Plaintiffs’ First Set of Discovery Requests to Defendant the GEO Group, Inc.
23
               2.     For each Request for Admission that is denied, or is otherwise not admitted without
24
     qualification, Defendant the GEO Group, Inc. (“GEO”) is to set forth in detail the reason for each
25
     such denial or qualification.
26

                                                        1
      PLTFS’ SECOND SET OF REQUESTS FOR                                             5:17-cv-02514-JGB
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 1           3.      To the extent any of the following discovery requests are objectionable in whole or in

 2   part, each objection must be stated with particularity, including the reasons for the objection and the
 3   categories of information to which the objection applies. As required by the Federal Rules of Civil
 4
     Procedure, the discovery request must be answered to the extent it is not objectionable.
 5
             4.      If you find the meaning of any term in these discovery requests unclear, you shall
 6
     assume a reasonable meaning, state what the assumed meaning is, and respond according to the
 7
     assumed meaning.
 8
 9           5.      In interpreting these discovery requests, definitions, and instructions: any masculine,

10   feminine, or neutral term includes all other genders; the singular includes the plural and vice versa; and

11   “or,” “and,” “and/or,” and “including” shall be read to bring within the scope of the discovery request
12   the broadest amount of information.
13
             6.      Unless otherwise specified in a particular question or request, the relevant time period
14
     for all questions and requests is from May 1, 2011, and continuing through to the present.
15
             7.      To the extent any aspect of your answer or response changes depending on the time
16
     considered, please identify the various iterations, when they happened, and the reason(s) for the
17
18   change(s) over time.

19           8.      Pursuant to Fed. R. Civ. P. 26(a) and 26(e), you must supplement, by reasonable

20   amendment, any response you give to include documents later drafted, acquired, or discovered by you.
21   You have an ongoing obligation to supplement your responses to these discovery requests.
22
                                                DEFINITIONS
23
             As used in these interrogatories, requests for production, and requests for admission, the
24
     following terms have the following meanings:
25
26

                                                         2
      PLTFS’ SECOND SET OF REQUESTS FOR                                                5:17-cv-02514-JGB
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 1            1.    The term “GEO” is defined as the Defendant The GEO Group, Inc., and affiliated

 2   corporate entity or subsidiary (including any taxable REIT subsidiary) through which The GEO Group,
 3   Inc. conducts business or receives revenue, as well any officer, agent, employee, executive, or
 4
     representative of GEO as defined herein.
 5
              2.    The term “ICE” is defined as the United States Immigration and Customs
 6
     Enforcement.
 7
              3.    The term “Work Program” is defined as any program GEO operates involving labor
 8
 9   performed by detainees for remuneration of any kind that includes tasks outside those described in

10   Section 5.8.V.C of the 2011 ICE Performance-Based National Detention Standards (“PBNDS”) (rev.

11   2016).
12            4.    The term “PBNDS” is defined as any version of the 2011 ICE Performance-Based
13
     National Detention Standards.
14
              5.    The     terms     “Housing      Unit     Sanitation     Policy”      and     “Sanitation
15
     Procedures/Housekeeping Plan” are defined as any program, policy, plan, or procedure GEO operates
16
     involving labor performed by detainees for no remuneration that includes sanitation and cleaning tasks
17
18   in the detainees’ housing units, dormitories, pods, or living areas. See, e.g., GEO-Novoa_00000515

19   (“Sanitation Procedures/Housekeeping Plan”).

20            6.    The term “operates” means maintains, implements, runs, utilizes or employs.
21            7.    The term “Adelanto Facility” is defined as the Adelanto ICE Processing Center, located
22
     in Adelanto, California and operated by GEO pursuant to a federal contract with ICE.
23
              8.    The terms “detainee” and “detained immigrant” are defined as any person detained in
24
     an immigration detention facility operated by GEO.
25
26

                                                       3
      PLTFS’ SECOND SET OF REQUESTS FOR                                               5:17-cv-02514-JGB
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 1            9.      The term “person” is defined as any natural person or business, legal, or governmental

 2   entity or association.
 3            10.     The terms “Plaintiffs,” “Plaintiff,” “Defendant,” and “Defendants,” as well as a party’s
 4
     full or abbreviated name or pronoun referring to a party, mean the party and, where applicable, his
 5
     officers, directors, employees, partners, corporate parent, subsidiaries, predecessors, or affiliates. This
 6
     definition is not intended to impose a discovery obligation on any person who is not a party to the
 7
     litigation.
 8
 9            11.     The terms “you” and “your” include the person(s) to whom these requests are

10   addressed, and all of that person’s agents, representatives, and attorneys.

11            12.     “Compensation” means all monies and benefits, including: salaries, hourly wages,
12   overtime wages, commissions, raises, and bonuses; or any other benefits given in return for work, tasks
13
     and/or duties.
14
              13.     The term “hours” includes full hours and partial hour(s).
15
              14.     “Policy” or “Policies” mean each rule, procedure, or directive, formal or informal,
16
     written or unwritten, and each common understanding or course of conduct that was recognized as
17
18   such by Defendant or persons acting or purporting to act on Defendant’s behalf, that has been in effect

19   at any time during the period covered by these demands. These terms include any change of policy.

20            15.     “Relevant period” means the period from December 19, 2007 through the present for
21   all requests related to the Work Program and December 19, 2007 through the present for all requests
22
     related to the use of solitary confinement, administrative segregation, and/or disciplinary segregation.
23
              16.     The singular of each word shall be construed to include its plural and vice-versa, and
24
     the root word and all derivations (i.e., “ing,” “ed,” etc.) shall be construed to include each other.
25
26

                                                         4
      PLTFS’ SECOND SET OF REQUESTS FOR                                                 5:17-cv-02514-JGB
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 1           17.      The words “knowledge,” “information,” “possession,” “custody,” and “control” of a

 2   person shall be construed to include such person’s agents, representatives, and attorneys.
 3           18.      The word “including” shall have its ordinary meaning and shall mean “including but
 4
     not limited to” and shall not indicate limitation to the examples or items mentioned.
 5
             19.      The term “communication” means the transmittal of information by any means (in the
 6
     form of facts, ideas, inquiries, or otherwise).
 7
             20.      The term “concerning” means relating to, referring to, describing, evidencing or
 8
 9   constituting.

10                   PLAINTIFFS’ SECOND SET OF REQUESTS FOR ADMISSION

11           REQUEST NO. 11
12           Admit     that   GEO      operates   a    Housing   Unit   Sanitation   Policy   or   Sanitation
13
     Procedures/Housekeeping Plan at the Adelanto Facility.
14
             REQUEST NO. 12
15
             Admit     that   GEO      operates   a    Housing   Unit   Sanitation   Policy   or   Sanitation
16
     Procedures/Housekeeping Plan at the Aurora ICE Processing Center in Aurora, Colorado.
17
18           REQUEST NO. 13

19           Admit     that   GEO      operates   a    Housing   Unit   Sanitation   Policy   or   Sanitation

20   Procedures/Housekeeping Plan at the Basile Detention Center in Basile, Louisiana.
21           REQUEST NO. 14
22
             Admit     that   GEO      operates   a    Housing   Unit   Sanitation   Policy   or   Sanitation
23
     Procedures/Housekeeping Plan at the Broward Transitional Center in Pompano Beach, Florida.
24
25
26

                                                         5
      PLTFS’ SECOND SET OF REQUESTS FOR                                               5:17-cv-02514-JGB
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 1          REQUEST NO. 15

 2          Admit    that   GEO     operates   a   Housing   Unit   Sanitation   Policy   or   Sanitation
 3   Procedures/Housekeeping Plan at the Montgomery Processing Center in Conroe, Texas.
 4
            REQUEST NO. 16
 5
            Admit    that   GEO     operates   a   Housing   Unit   Sanitation   Policy   or   Sanitation
 6
     Procedures/Housekeeping Plan at the Folkston ICE Processing Center in Folkston, Georgia.
 7
            REQUEST NO. 17
 8
 9          Admit    that   GEO     operates   a   Housing   Unit   Sanitation   Policy   or   Sanitation

10   Procedures/Housekeeping Plan at the LaSalle ICE Processing Center in Jena, Louisiana.

11          REQUEST NO. 18
12          Admit    that   GEO     operates   a   Housing   Unit   Sanitation   Policy   or   Sanitation
13
     Procedures/Housekeeping Plan at the Karnes County Residential Center in Karnes City, Texas.
14
            REQUEST NO. 19
15
            Admit    that   GEO     operates   a   Housing   Unit   Sanitation   Policy   or   Sanitation
16
     Procedures/Housekeeping Plan at the Mesa Verde ICE Processing Center in Bakersfield, California.
17
18          REQUEST NO. 20

19          Admit    that   GEO     operates   a   Housing   Unit   Sanitation   Policy   or   Sanitation

20   Procedures/Housekeeping Plan at the South Texas Detention Complex in Pearsall, Texas.
21          REQUEST NO. 21
22
            Admit    that   GEO     operates   a   Housing   Unit   Sanitation   Policy   or   Sanitation
23
     Procedures/Housekeeping Plan at the Pine Prairie ICE Processing Center in Pine Prairie, Louisiana.
24
25
26

                                                      6
      PLTFS’ SECOND SET OF REQUESTS FOR                                           5:17-cv-02514-JGB
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 1           REQUEST NO. 22

 2           Admit    that   GEO      operates    a   Housing     Unit   Sanitation    Policy   or   Sanitation
 3   Procedures/Housekeeping Plan at the Tacoma Northwest Detention Center in Tacoma, Washington.
 4
             REQUEST NO. 23
 5
             Admit that GEO interprets ICE’s PBNDS 5.8.V.C to permit GEO to require detainees to
 6
     perform tasks for no compensation that are in addition to and separate from the four enumerated
 7
     personal housekeeping tasks identified in PBNDS 5.8.V.C.
 8
 9           REQUEST NO. 24

10           Admit that at each Facility listed in Requests No. 11-22 above, “[r]efusal to clean assigned living

11   area” is classified as a 300-level “High Moderate” offense punishable by up to 72 hours in disciplinary
12   restriction.
13
             REQUEST NO. 25
14
             Admit that GEO permits detainees at the Adelanto Facility to work for no compensation if all
15
     paid Work Program positions are filled.
16
             REQUEST NO. 26
17
18           Admit that GEO occasionally provides extra food, clothing, batteries, and/or personal hygiene

19   items to detainees at the Adelanto Facility who perform work, tasks, or other labor.

20           REQUEST NO. 27
21           Admit that GEO is required by its contracts with ICE to comply with some version of the 2011
22
     PBNDS at every civil immigration detention facility GEO operates in the United States.
23
24
25
26

                                                         7
      PLTFS’ SECOND SET OF REQUESTS FOR                                                 5:17-cv-02514-JGB
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 1                      PLAINTIFFS’ SECOND REQUEST FOR INSPECTION

 2           Pursuant to FRCP 34(a)(2), Plaintiffs request that their attorneys be allowed to enter onto and
 3   inspect GEO’s Adelanto ICE Processing Center (the “Property”) on October 8, 2019 at 9:00 a.m. for
 4
     the purposes of inspecting, measuring, surveying, photographing, videotaping, testing, or sampling said
 5
     Property. Plaintiffs specifically request to inspect the following portions of the Property:
 6
             1.      All facilities used for disciplinary or corrective actions against detainees, including any
 7
     facilities used for solitary confinement;
 8
 9           2.      Any area where detainees live or socialize, including pods, dormitories, cells, living

10   areas, and common areas; and

11           3.      Any area that is or was the subject of detainee work as a result of the Work Program.
12
     Dated: August 23, 2019                          /s/ Lydia Wright
13
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                                                         8
      PLTFS’ SECOND SET OF REQUESTS FOR                                                 5:17-cv-02514-JGB
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20
                                         Attorneys for Plaintiffs.
21
22
23
24
25
26

                                            9
     PLTFS’ SECOND SET OF REQUESTS FOR                                     5:17-cv-02514-JGB
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 1                                     CERTIFICATE OF SERVICE

 2          I, Lydia A. Wright, declare under penalty of perjury that I caused a true and correct copy of this
 3   document to be served upon counsel listed below by email, this 23rd day of August, 2019.
 4
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11
     Dated: August 23, 2019                                 /s/ Lydia Wright
12                                                          Lydia A. Wright (admitted pro hac vice)
                                                            BURNS CHAREST LLP
13
                                                            365 Canal Street, Suite 1170
14                                                          New Orleans, LA 70130

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                                                       10
      PLTFS’ SECOND SET OF REQUESTS FOR                                               5:17-cv-02514-JGB
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